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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

   TOTAL REBUILD, INC.                    )
                                          )
        Plaintiff/Counterclaim-Defendant, )              Case No. 6:15-cv-01855-TAD-CBW
                                          )
   v.                                     )              JUDGE TERRY A. DOUGHTY
                                          )
   PHC FLUID POWER, L.L.C.,               )              MAGISTRATE JUDGE WHITEHURST
                                          )
        Defendant/Counterclaim-Plaintiff. )              JURY TRIAL DEMANDED
                                          )


                       DEFENDANT PHC FLUID POWER, L.L.C.’S
                   MOTION IN LIMINE REGARDING ACCUSED SYSTEMS


          Defendant PHC Fluid Power, L.L.C. (“PHC”) respectfully moves the Court to preclude

   and exclude Plaintiff Total Rebuild, Inc. (“Total”) from asserting or referencing at trial six of

   PHC’s pressure testing system that Total alleges infringe U.S. Patent No. 8,146,428 (the “’428

   Patent”).1 Total’s position that these six systems infringe is expressly precluded by several of this

   Court’s rulings. Total is simply trying to relitigate positions it has already lost in this case. PHC

   has requested Total withdraw its assertion of infringement for these six systems, but Total refuses

   to do so despite the clear and unequivocal determinations by the Court.

          Total’s assertion of infringement by the six systems is precluded by the Court’s Ruling and

   Order on PHC’s Motion to Strike Total’s Third Infringement Contentions. In that Ruling and Order,




   1
    The six systems are PHC-TB-23-W-ATV4-HSF202-4RC to GE a/k/a PHC-PS-23-W-ATV4-
   HSF202-RC; PHC-TB-15-W-ASFB22-HSF202-RC to Cameron; PHC-TB-15-W-ATV4-
   GSF100-AGT62-152-RC to Baker Hughes; PHC-TB-15-W-ATV4-GSF100-ASF150-DL-1 to
   Baker Hughes; PHC-TB-10-W-ATV-GSF100-DL-1 to Baker Hughes; and PHC-TB-20-W-
   ATV4-HSF202-RC to GE.
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   this Court clearly and unequivocally held Total (1) did not disclose a theory of infringement for

   pressure testing systems with pumps and pump systems outside of the safety housing in Total’s

   Original, First Supplemental, or Second Supplemental Infringement Contentions; and (2) is

   precluded from asserting infringement under theories not disclosed in its Original, First

   Supplemental, or Second Supplemental Infringement Contentions. Ruling and Order at 2, 6 (Dkt.

   2). Thus, this Court held Total is precluded from asserting infringement by systems with pumps

   and pump systems outside the safety housing. Further, the parties do not dispute that the pumps

   and pump systems of these six pressure testing systems are outside the safety housing.

   Memorandum in Opposition to Defendant’s Motion to Strike Infringement Contentions at 2. Yet,

   Total refuses to withdraw its assertion that these six systems infringe its patent and will not even

   discloses the theory by which it alleges infringement. PHC’s Motion should be granted for this

   reason alone.

           Total’s assertion of infringement by these six systems also is precluded by at least two

   other rulings from this Court. In its Memorandum Opinion and Order on Claim Construction

   (“Construction Ruling”) and Ruling on Motion in Limine, this Court clearly and unequivocally

   held the separately claimed elements of Total’s patent of “high-pressure pneumatics testing

   equipment” and “means within said [safety] housing for coupling said high-pressure pneumatics

   testing equipment to said high-pressure device for testing” refer to separate structures and the

   Court rejects any argument that the systems’ “plumbing and hoses” are the recited “high-pressure

   testing equipment.” Construction Ruling at 30 (Dkt. 278); Ruling on Motion in Limine at 5 (Dkt.

   282).

           Total asserted in its Third Supplement Infringement Contentions that these six systems

   infringe because the systems’ plumbing and hoses are both the “high-pressure testing equipment”



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   and the “means … for coupling …” element. Even if Total’s Third Supplemental Infringement

   Contentions had not been struck, which they were, Total’s position that these six systems infringe

   because the plumbing and hoses are both elements is precluded by the Construction Ruling and

   Ruling on Motion in Limine.

          The Court has already ruled that Total “is PRECLUDED from proceeding on any

   infringement theory not identified with sufficient specificity in its original infringement

   contentions, first supplemental infringement contentions, or second supplemental infringement

   contentions.” Ruling and Order at 6. However, Total maintains that it will allege at trial

   infringement by the six systems under theories that were not timely disclosed. Further, Total’s

   position as to infringement is precluded by the Court’s rulings on claim construction, but Total

   will not withdraw its claims of infringement. PHC now moves for an order specifically precluding

   and excluding Total from raising these six systems at trial.

          Wherefore, PHC respectfully requests that Total be excluded and precluded from raising

   or referring to the following six systems at trial:

          1.      PHC-TB-23-W-ATV4-HSF202-4RC to GE a/k/a PHC-PS-23-W-ATV4-HSF202-
                  RC;

          2.      PHC-TB-15-W-ASFB22-HSF202-RC to Cameron;

          3.      PHC-TB-15-W-ATV4-GSF100-AGT62-152-RC to Baker Hughes;

          4.      PHC-TB-15-W-ATV4-GSF100-ASF150-DL-1 to Baker Hughes Oklahoma;

          5.      PHC-TB-10-W-ATV-GSF100-DL-1 to Baker Hughes Oklahoma;

          6.      PHC-TB-20-W-ATV4-HSF202-RC to GE.




          Dated: July 26, 2019



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                                            Respectfully submitted,
                                            MILLER LEGAL PARTNERS PLLC

                                            /s/ Nicholas R. Valenti
                                            Samuel F. Miller, TN Bar No. 22936
                                            Nicholas R. Valenti, TN Bar No. 35420
                                            Fifth Third Center – Suite 2000
                                            424 Church Street
                                            Nashville, Tennessee 37129
                                            Tel/Fax: (615) 988-9011
                                            Email: smiller@millerlegalpartners.com
                                            nvalenti@millerlegalpartners.com

                                            NEUNERPATE

                                            /s/ Cliff A. Lacour
                                            Brandon W. Letulier - #28657
                                            Cliff A. LaCour - #30581
                                            One Petroleum Center, Suite 200
                                            1001 West Pinhook Road
                                            Lafayette, Louisiana 70503
                                            Tel: (337) 237-7000
                                            Fax: (337) 233-9450
                                            Email: bletulier@neunerpate.com
                                                     clacour@neunerpate.com

                                            Attorneys for PHC Fluid Power, L.L.C.




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                                  CERTIFICATE OF SERVICE
          The undersigned certifies that on this 26th day of July 2019, a copy of the foregoing was
   served on counsel of record listed below via the Court’s ECF system:
   William W. Stagg
   Chase A. Manuel
   Steven G. Durio
   Tyler Rush
   Durio, McGoffin, Stagg & Ackermann, PC
   220 Heymann Boulevard (70503)
   Post Office Box 51308 Lafayette, LA 70505-1308
   Bill@dmsfirm.com
   Chase@dmsfirm.com
   Buzz@dmsfirm.com
   tyler@dmsfirm.com

   Brandon W. Letulier
   Cliff A. LaCour
   NeunerPate
   One Petroleum Center, Suite 200
   1001 W. Pinhook Road
   Lafayette, LA 70503
   bletulier@neunerpate.com
   clacour@neunerpate.com

                                                              s/ Nicholas R. Valenti
                                                              Nicholas R. Valenti




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